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                                          UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF ILLINOIS
                                               Eastern Division DIVISION

       In re: MCGEE, JILL                                   §     Case No. 18-27044
                                                            §
                                                            §
                                                            §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              Richard J. Mason, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $438,168.36                            Assets Exempt:      $26,200.00
      (without deducting any secured claims)

      Total Distributions to Claimants:   $9,125.50               Claims Discharged
                                                                  Without Payment:      $421,702.64


      Total Expenses of Administration:    $15,940.89




               3) Total gross receipts of $25,066.39 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $25,066.39 from the liquidation of the property of the estate,
      which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                    $823,000.00                $0.00                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00           $15,940.89           $15,940.89           $15,940.89


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                              $100,580.30           $55,525.09           $55,525.09             $9,125.50

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $272,938.13          $148,764.51          $148,764.51                 $0.00


   TOTAL DISBURSEMENTS                         $1,196,518.43          $220,230.49          $220,230.49           $25,066.39




                 4) This case was originally filed under chapter 7 on 09/26/2018. The case was pending for 52
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        02/08/2023                        By: /s/ Richard J. Mason
                                                                           Trustee , Bar No.:




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                             $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                          RECEIVED

 Trusts, equitable or future interests in property                                              1129-000                             $25,066.39

                             TOTAL GROSS RECEIPTS                                                                                    $25,066.39

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                    $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                     PAID

                                                                          None




EXHIBIT 3 - SECURED CLAIMS



                                             UNIFORM              CLAIMS
     Claim                                                                                  CLAIMS                  CLAIMS            CLAIMS
                 CLAIMANT                     TRAN.             SCHEDULED
      NO.                                                                                  ASSERTED                ALLOWED             PAID
                                              CODE            (from Form 6D)


      N/F       Alliant Credit Union          4110-000              $225,000.00                        NA                NA                  NA

      N/F       Chase                         4110-000              $598,000.00                        NA                NA                  NA

                   TOTAL SECURED                                    $823,000.00                     $0.00              $0.00              $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                        UNIFORM      CLAIMS             CLAIMS             CLAIMS              CLAIMS
   PAYEE                                 TRAN.     SCHEDULED           ASSERTED           ALLOWED               PAID
                                         CODE

 Trustee, Fees - Richard J. Mason       2100-000              NA             $3,256.64        $3,256.64        $3,256.64

 Attorney for Trustee Fees -            3110-000              NA         $10,000.00       $10,000.00          $10,000.00
 MASON, POLLICK & SCHMAHL
 LLC
 Bond Payments - BOND                   2300-000              NA               $22.43           $22.43              $22.43

 Bank Service Fees - Metropolitan       2600-000              NA              $475.22          $475.22             $475.22
 Commercial Bank
 Bank Service Fees - People’s           2600-000              NA              $457.71          $457.71             $457.71
 United Bank
 Accountant for Trustee Fees (Other     3410-000              NA             $1,542.50        $1,542.50        $1,542.50
 Firm) - Cheryl G. Wesler
 Accountant for Trustee Expenses        3420-000              NA              $186.39          $186.39             $186.39
 (Other Firm) - Cheryl G. Wesler
 TOTAL CHAPTER 7 ADMIN. FEES
                                                              NA         $15,940.89       $15,940.89          $15,940.89
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                             UNIFORM             CLAIMS            CLAIMS            CLAIMS               CLAIMS
         PAYEE
                            TRAN. CODE         SCHEDULED          ASSERTED          ALLOWED                PAID

                                                           None




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                          CLAIMS
                                         UNIFORM        CLAIMS
                                                                         ASSERTED         CLAIMS           CLAIMS
 CLAIM NO.          CLAIMANT              TRAN.      SCHEDULED
                                                                      (from Proofs of    ALLOWED            PAID
                                          CODE      (from Form 6E)
                                                                           Claim)

     2P       INTERNAL REVENUE           5800-000               NA          $46,784.81    $46,784.81       $7,689.04
              SERVICE

     8P       ILLINOIS                   5800-000               NA           $8,740.28     $8,740.28       $1,436.46
              DEPARTMENT OF
              REVENUE

    N/F       Anthony Mims               5600-000           $318.70                NA            NA              NA


    N/F       Catalina McLaughlin        5600-000            $99.00                NA            NA              NA


    N/F       Destiny Hite               5600-000           $195.50                NA            NA              NA


    N/F       Dwayne Whitmore            5600-000           $500.00                NA            NA              NA


    N/F       Gabriel Maldonado          5600-000           $600.00                NA            NA              NA


    N/F       Illinois Department of     5600-000        $37,000.00                NA            NA              NA
              Revenue

    N/F       Internal Revenue           5600-000        $57,792.74                NA            NA              NA
              Service

    N/F       Karla Alverez              5600-000           $373.23                NA            NA              NA


    N/F       Katherine Buchner          5600-000           $448.46                NA            NA              NA


    N/F       Kaylee Weithers            5600-000           $103.73                NA            NA              NA


    N/F       Laverne Armstrong          5600-000           $336.48                NA            NA              NA


    N/F       Melon ie Reeves            5600-000           $252.28                NA            NA              NA


    N/F       Nikita Johnson             5600-000           $337.20                NA            NA              NA


    N/F       Onique Walker              5600-000           $461.53                NA            NA              NA


    N/F       Rachel Shook               5600-000           $173.60                NA            NA              NA


    N/F       Ramiro Bernal              5600-000           $358.44                NA            NA              NA


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    N/F     Sandra Medler          5600-000         $500.00             NA            NA               NA


    N/F     Sergio Bernal          5600-000            $0.00            NA            NA               NA


    N/F     Taynasia Walker        5600-000         $289.41             NA            NA               NA


    N/F     Ulysses Kirby          5600-000         $440.00             NA            NA               NA


           TOTAL PRIORITY
          UNSECURED CLAIMS                       $100,580.30     $55,525.09    $55,525.09        $9,125.50




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                        CLAIMS
                                       UNIFORM        CLAIMS
                                                                       ASSERTED         CLAIMS           CLAIMS
 CLAIM NO.          CLAIMANT            TRAN.      SCHEDULED
                                                                    (from Proofs of    ALLOWED            PAID
                                        CODE      (from Form 6F)
                                                                         Claim)

     1        FIRST NATIONAL           7100-000               NA           $8,663.10     $8,663.10          $0.00
              BANK OMAHA

     2U       INTERNAL REVENUE         7300-000               NA           $1,674.98     $1,674.98          $0.00
              SERVICE

     3        WILKENS                  7100-000               NA          $14,064.88    $14,064.88          $0.00
              FOODSERVICE

     4        I F & P HOLDINGS -       7100-000               NA             $710.90      $710.90           $0.00
              GET FRESH
              PRODUCE

     5        SANDRA MEDLER            7100-000               NA           $6,949.00     $6,949.00          $0.00


     6        ITRIA VENTURES LLC       7100-000               NA          $89,902.87    $89,902.87          $0.00


     7        ALLIANT CREDIT           7100-000               NA          $25,849.78    $25,849.78          $0.00
              UNION

     8U       ILLINOIS                 7300-000               NA             $949.00      $949.00           $0.00
              DEPARTMENT OF
              REVENUE

    N/F       157 W. North Avenue,     7100-000        $40,000.00                NA            NA             NA
              LLC

    N/F       Alliant Credit Union     7100-000        $25,000.00                NA            NA             NA


    N/F       Alpha Bakery             7100-000         $1,272.00                NA            NA             NA


    N/F       Badger Murphy            7100-000           $500.00                NA            NA             NA


    N/F       Blackwood Group          7100-000        $10,000.00                NA            NA             NA


    N/F       Burke, Warren,           7100-000           $967.00                NA            NA             NA
              MacKay & Serritella

    N/F       CCO of New York          7100-000         $3,997.44                NA            NA             NA


    N/F       CCS Payment              7100-000            $85.84                NA            NA             NA
              Processing Center



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    N/F     Chase                   7100-000       $13,000.00          NA              NA         NA


    N/F     Christopher Glass       7100-000         $750.00           NA              NA         NA


    N/F     City of Chicago         7100-000         $750.00           NA              NA         NA
            Business Affairs

    N/F     City of Chicago EMS     7100-000        $1,084.00          NA              NA         NA


    N/F     ComEd                   7100-000        $1,350.00          NA              NA         NA


    N/F     Diagnostic Imaging      7100-000          $42.50           NA              NA         NA
            Specialists

    N/F     Ecolab                  7100-000        $1,076.10          NA              NA         NA


    N/F     Empire Ice              7100-000        $1,000.00          NA              NA         NA


    N/F     Frank Radochonski       7100-000       $20,000.00          NA              NA         NA


    N/F     Get Fresh               7100-000        $1,400.00          NA              NA         NA


    N/F     Google Ad Words         7100-000            $0.00          NA              NA         NA


    N/F     Hazelden Betty Ford     7100-000         $196.35           NA              NA         NA
            Foundation

    N/F     Heartland Payment       7100-000            $0.00          NA              NA         NA
            Systems

    N/F     Itrea Ventures          7100-000       $87,000.00          NA              NA         NA


    N/F     Kane & Kane, Ltd.       7100-000         $800.00           NA              NA         NA


    N/F     Key Magazine            7100-000            $0.00          NA              NA         NA


    N/F     Mahoney Grease          7100-000         $167.00           NA              NA         NA


    N/F     Marilyn Susman          7100-000         $980.00           NA              NA         NA


    N/F     Michele Bakery          7100-000        $2,500.00          NA              NA         NA


    N/F     Motion Agency           7100-000        $2,500.00          NA              NA         NA


    N/F     Nordstrom               7100-000         $360.00           NA              NA         NA




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    N/F     Northwestern Medicine     7100-000       $16,119.42            NA             NA          NA


    N/F     Peoples Energy            7100-000        $2,000.00            NA             NA          NA


    N/F     Presence Medical          7100-000         $103.80             NA             NA          NA
            Group

    N/F     Ramar                     7100-000       $12,000.00            NA             NA          NA


    N/F     Republic Services         7100-000         $724.09             NA             NA          NA
            #710

    N/F     Resource POS              7100-000         $700.00             NA             NA          NA


    N/F     Restaurant Solutions,     7100-000            $0.00            NA             NA          NA
            Inc.

    N/F     SYNCB/Amazon              7100-000          $24.48             NA             NA          NA


    N/F     Sign Outlet               7100-000        $1,500.00            NA             NA          NA


    N/F     Society Insurance         7100-000         $800.00             NA             NA          NA


    N/F     The Watchlight            7100-000         $119.40             NA             NA          NA
            Corporation

    N/F     Universal Health          7100-000         $121.47             NA             NA          NA
            Institute

    N/F     Wilkins                   7100-000       $14,000.00            NA             NA          NA


    N/F     Wintrust                  7100-000        $7,500.00            NA             NA          NA


    N/F     Woodward &                7100-000         $447.24             NA             NA          NA
            Associates

            TOTAL GENERAL
           UNSECURED CLAIMS                         $272,938.13    $148,764.51    $148,764.51       $0.00




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                                                                                                                                                 Exhibit 8
                                       Individual Estate Property Record and Report                                                              Page: 1

                                                        Asset Cases
Case No.:    18-27044                                                                   Trustee Name:      (330470) Richard J. Mason
Case Name:         MCGEE, JILL                                                          Date Filed (f) or Converted (c): 09/26/2018 (f)
                                                                                        § 341(a) Meeting Date:       10/23/2018
For Period Ending:       02/08/2023                                                     Claims Bar Date:      06/21/2021

                                   1                            2                      3                      4                    5                  6

                           Asset Description                 Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)   Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                              Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                             Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                        and Other Costs)

    1*      1660 N LaSalle Dr, #2702, Chicago, IL            419,000.00                         0.00         OA                        0.00                        FA
            60614 (See Footnote)

    2*      2012 Audi A5 (See Footnote)                       12,500.00                    10,100.00         OA                        0.00                        FA

    3       Household furniture purchased in 2005                   500.00                   500.00                                    0.00                        FA
            one bedroom set, living roomdining room
            set, kitchenware

    4       Laptop, desktop computer, blu-ray player                500.00                   500.00                                    0.00                        FA

    5       CDs, lithograph                                         500.00                   500.00                                    0.00                        FA

    6       Electric piano, acoustic guitar                         200.00                   200.00                                    0.00                        FA

    7       Rollerblades                                              5.00                      5.00                                   0.00                        FA

    8       Necessary wearing apparel                               300.00                      0.00                                   0.00                        FA

    9       David Yurman wedding ring, 15-year old              1,500.00                        0.00                                   0.00                        FA
            watch

   10       Cash                                                    150.00                   150.00                                    0.00                        FA

   11       Checking Alliant Credit Union                             0.00                      0.00                                   0.00                        FA

   12       Savings Alliant Credit Union                              5.00                      5.00                                   0.00                        FA

   13       Checking Wintrust                                         8.36                      8.36                                   0.00                        FA

   14*      Epiphany Strategy Group LLC, EIN 81-               Unknown                          0.00                                   0.00                        FA
            1363523 did business as Pops Italian
            Beef and Sausage (See Footnote)

   15*      Med-MC, LLC (See Footnote)                                0.00                      0.00                                   0.00                        FA

   16       IRA - Mercer Financial Advisors                     3,000.00                        0.00                                   0.00                        FA

   17       Pension - Through former employer                  Unknown                          0.00                                   0.00                        FA
            United Air Lines, value unknown, cant
            access

   18       Security Deposit Electric Possibly through         Unknown                          0.00                                   0.00                        FA
            ComEd

   19*      Trusts, equitable or future interests in          38,000.00                    34,000.00                              25,066.39                        FA
            property (See Footnote)

   20*      2017 taxes unfiled as of petition date                    0.00                      0.00                                   0.00                        FA
            (See Footnote)

   21*      Insurance in insurance policies (See                      0.00                      0.00                                   0.00                        FA
            Footnote)

   21       Assets Totals (Excluding unknown values)        $476,168.36                 $45,968.36                             $25,066.39                    $0.00




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                                    Individual Estate Property Record and Report                                                               Page: 2

                                                     Asset Cases
Case No.:   18-27044                                                                  Trustee Name:      (330470) Richard J. Mason
Case Name:      MCGEE, JILL                                                           Date Filed (f) or Converted (c): 09/26/2018 (f)
                                                                                      § 341(a) Meeting Date:      10/23/2018
For Period Ending:     02/08/2023                                                     Claims Bar Date:      06/21/2021

      RE PROP# 1         5/20/21 Order (DE 45) entered abandoning trustee's interest in this asset.

      RE PROP# 2         5/20/21 Order (DE 45) entered abandoning trustee's interest in this asset.

      RE PROP# 14        157 W. North Ave., Chicago, IL; negative equity, all bank accounts closed, no receivables, potential counterclaim (presently
                         not-filed) related to wrongful eviction proceedings; its restaurant equipment (POS, chairs/tables, coolers, utensils, etc.)
                         potentially fully-encumbered by Chase loan (see Sch. D); Chase may not be interested in recovery, but landlord not granting
                         access; leased equipment (two gyro stations) from Kronos, which, to best of debtor's knowledge, remains in the store
      RE PROP# 15        90% ownership
                         originally intended to be a partnership operating restaurant, dissolved when Epiphany opened, no assets, no bank accounts,
                         never did anything
      RE PROP# 19        Debtor has two sisters and a brother; they are the four beneficiaries of the Rosemary A. McGee Living Trust; debtor's share
                         of the trust is an IRA (inherited) in approximate amount of $38,000; debtor borrowed $220k from the Trust in appx.
                         November 2016
      RE PROP# 20        accountant working on returns, no refund anticipated (likely net-net zero)

      RE PROP# 21        Debtor does not have life insurance, health insurance, or car insurance at petition date; can't afford it.




 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 09/01/2021                   Current Projected Date Of Final Report (TFR):         08/01/2022


                     02/08/2023                                                            /s/Richard J. Mason
                        Date                                                               Richard J. Mason




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                                                                Form 2                                                                                Exhibit 9
                                                                                                                                                      Page: 1
                                                Cash Receipts And Disbursements Record
Case No.:              18-27044                                            Trustee Name:                    Richard J. Mason (330470)
Case Name:             MCGEE, JILL                                         Bank Name:                       People’s United Bank
Taxpayer ID #:         **-***1346                                          Account #:                       ******2430 Checking
For Period Ending:     02/08/2023                                          Blanket Bond (per case limit):   $5,000,000.00
                                                                           Separate Bond (if applicable):   N/A

    1            2                     3                                          4                               5                     6                         7

  Trans.    Check or       Paid To / Received From           Description of Transaction        Uniform        Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                           Tran. Code        $                       $

 10/20/20     {19}     Jill McGee                        payment for IRA                       1129-000           25,066.39                                           25,066.39
 10/30/20              People’s United Bank              Bank and Technology Services          2600-000                                      13.35                    25,053.04
                                                         Fees
 11/30/20              People’s United Bank              Bank and Technology Services          2600-000                                      38.70                    25,014.34
                                                         Fees
 12/31/20              People’s United Bank              Bank and Technology Services          2600-000                                      43.98                    24,970.36
                                                         Fees
 01/29/21              People’s United Bank              Bank and Technology Services          2600-000                                      38.68                    24,931.68
                                                         Fees
 02/26/21              People’s United Bank              Bank and Technology Services          2600-000                                      37.29                    24,894.39
                                                         Fees
 03/31/21              People’s United Bank              Bank and Technology Services          2600-000                                      43.88                    24,850.51
                                                         Fees
 04/14/21     101      INTERNATIONAL SURETIES,           Bond premium                          2300-000                                      12.17                    24,838.34
                       LTD.
 04/30/21              People’s United Bank              Bank and Technology Services          2600-000                                      39.82                    24,798.52
                                                         Fees
 05/28/21              People’s United Bank              Bank and Technology Services          2600-000                                      37.09                    24,761.43
                                                         Fees
 06/30/21              People’s United Bank              Bank and Technology Services          2600-000                                      43.65                    24,717.78
                                                         Fees
 07/30/21              People’s United Bank              Bank and Technology Services          2600-000                                      39.61                    24,678.17
                                                         Fees
 08/31/21              People’s United Bank              Bank and Technology Services          2600-000                                      42.18                    24,635.99
                                                         Fees
 09/30/21              People’s United Bank              Bank and Technology Services          2600-000                                      39.48                    24,596.51
                                                         Fees
 10/13/21              Transfer Debit to Metropolitan    Transition Debit to Metropolitan      9999-000                                 24,596.51                          0.00
                       Commercial Bank acct              Commercial Bank acct
                       XXXXXX9413                        XXXXXX9413

                                           COLUMN TOTALS                                                           25,066.39             25,066.39                        $0.00
                                                  Less: Bank Transfers/CDs                                              0.00             24,596.51
                                           Subtotal                                                                25,066.39                 469.88
                                                  Less: Payments to Debtors                                                                    0.00

                                           NET Receipts / Disbursements                                           $25,066.39                $469.88




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                             Cash Receipts And Disbursements Record
Case No.:              18-27044                                          Trustee Name:                       Richard J. Mason (330470)
Case Name:             MCGEE, JILL                                       Bank Name:                          Metropolitan Commercial Bank
Taxpayer ID #:         **-***1346                                        Account #:                          ******9413 Checking Account
For Period Ending:     02/08/2023                                        Blanket Bond (per case limit):      $5,000,000.00
                                                                         Separate Bond (if applicable):      N/A

    1            2                    3                                          4                                 5                    6                          7

  Trans.    Check or       Paid To / Received From         Description of Transaction           Uniform        Deposit            Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code        $                      $

 10/13/21              Transfer Credit from People’s   Transition Credit from People’s         9999-000            24,596.51                                           24,596.51
                       United Bank acct XXXXXX2430     United Bank acct XXXXXX2430
 10/29/21              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       38.10                    24,558.41
                                                       Fees
 11/30/21              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       41.98                    24,516.43
                                                       Fees
 12/31/21              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       40.60                    24,475.83
                                                       Fees
 01/31/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       37.92                    24,437.91
                                                       Fees
 02/28/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       36.55                    24,401.36
                                                       Fees
 03/30/22    1000      INTERNATIONAL SURETIES,         Bond premiums                           2300-000                                       10.26                    24,391.10
                       LTD.
 03/31/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       43.02                    24,348.08
                                                       Fees
 04/29/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       37.73                    24,310.35
                                                       Fees
 05/31/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       37.66                    24,272.69
                                                       Fees
 06/30/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       42.79                    24,229.90
                                                       Fees
 07/29/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       37.53                    24,192.37
                                                       Fees
 08/31/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       42.64                    24,149.73
                                                       Fees
 09/30/22              Metropolitan Commercial Bank    Bank and Technology Services            2600-000                                       38.70                    24,111.03
                                                       Fees
 12/07/22    1001      Mason Pollick & Schmahl LLC     Attorney's fees                         3110-000                                 10,000.00                      14,111.03
 12/07/22    1002      Wesler & Associates             Accounting fees                         3410-000                                     1,300.00                   12,811.03
                                                       Voided on 12/19/2022
 12/07/22    1003      Wesler & Associates             Accountant expenses                     3420-000                                      189.96                    12,621.07
                                                       Voided on 12/19/2022
 12/19/22    1002      Wesler & Associates             Accounting fees                         3410-000                                 -1,300.00                      13,921.07
                                                       Voided: check issued on
                                                       12/07/2022
 12/19/22    1003      Wesler & Associates             Accountant expenses                     3420-000                                      -189.96                   14,111.03
                                                       Voided: check issued on
                                                       12/07/2022
 12/19/22    1004      Cheryl G. Wesler                Combined dividend payments for                                                       1,728.89                   12,382.14
                                                       Claim #ADM- ACCT, ADM-ACCT
                       Cheryl G. Wesler                Claims Distribution - Mon, 12-19-       3410-000
                                                       2022
                                                                                 $1,542.50
                       Cheryl G. Wesler                Claims Distribution - Mon, 12-19-       3420-000
                                                       2022
                                                                                     $186.39
 12/19/22    1005      Richard J. Mason                Distribution payment - Dividend         2100-000                                     3,256.64                    9,125.50
                                                       paid at 100.00% of $3,256.64;
                                                       Claim # FEE; Filed: $3,256.64
 12/19/22    1006      INTERNAL REVENUE SERVICE        Distribution payment - Dividend         5800-000                                     7,689.04                    1,436.46
                                                       paid at 16.43% of $46,784.81;
                                                       Claim # 2P; Filed: $46,784.81



                                                                                           Page Subtotals:      $24,596.51           $23,160.05


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                     Case 18-27044             Doc 58        Filed 03/07/23 Entered 03/07/23 14:32:02                                     Desc Main
                                                             Document      Page 14 of 15
                                                              Form 2                                                                                Exhibit 9
                                                                                                                                                    Page: 3
                                              Cash Receipts And Disbursements Record
Case No.:              18-27044                                        Trustee Name:                    Richard J. Mason (330470)
Case Name:             MCGEE, JILL                                     Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***1346                                      Account #:                       ******9413 Checking Account
For Period Ending:     02/08/2023                                      Blanket Bond (per case limit):   $5,000,000.00
                                                                       Separate Bond (if applicable):   N/A

    1            2                   3                                         4                              5                      6                          7

  Trans.    Check or       Paid To / Received From         Description of Transaction      Uniform        Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                       Tran. Code        $                        $

 12/19/22    1007      ILLINOIS DEPARTMENT OF          Distribution payment - Dividend     5800-000                                      1,436.46                   0.00
                       REVENUE                         paid at 16.43% of $8,740.28;
                                                       Claim # 8P; Filed: $8,740.28

                                         COLUMN TOTALS                                                        24,596.51               24,596.51                     $0.00
                                                Less: Bank Transfers/CDs                                      24,596.51                      0.00
                                         Subtotal                                                                    0.00             24,596.51
                                                Less: Payments to Debtors                                                                    0.00

                                         NET Receipts / Disbursements                                               $0.00           $24,596.51




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                  Case 18-27044              Doc 58       Filed 03/07/23 Entered 03/07/23 14:32:02                         Desc Main
                                                          Document      Page 15 of 15
                                                       Form 2                                                                   Exhibit 9
                                                                                                                                Page: 4
                                       Cash Receipts And Disbursements Record
Case No.:           18-27044                                   Trustee Name:                   Richard J. Mason (330470)
Case Name:          MCGEE, JILL                                Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:      **-***1346                                 Account #:                      ******9413 Checking Account
For Period Ending: 02/08/2023                                  Blanket Bond (per case limit): $5,000,000.00
                                                               Separate Bond (if applicable): N/A

                                       Net Receipts:            $25,066.39
                            Plus Gross Adjustments:                   $0.00
                           Less Payments to Debtor:                   $0.00
                 Less Other Noncompensable Items:                     $0.00

                                         Net Estate:            $25,066.39




                                                                                                  NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                 ******2430 Checking                              $25,066.39          $469.88                      $0.00

                                 ******9413 Checking Account                           $0.00               $24,596.51               $0.00

                                                                                 $25,066.39               $25,066.39                $0.00




                 02/08/2023                                            /s/Richard J. Mason
                    Date                                               Richard J. Mason




UST Form 101-7-TDR (10 /1/2010)
